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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF FLORIDA

 UNITED STATES OF AMERICA
                    VS                                            CASE NO. 1:98-CR-19-15 MMP
    WILLIAM L. ATTEBERRY

                              FINANCIAL REFERRAL AND ORDER

Regarding release of funds for: Fine,   Restitution,  Filing Fee,           Attorney Admission Fee,
   Copy Fee,     Bond, X Other (Specify) Costs of Supervision

By:      William L. Atteberry                     (Payee)
Address: 2994 Covewood Place
         Clearwater, FL 33761

Receipt Number 400-109546                   Date of Receipt   1/11/06

Motion: N/A

Explanation: William Atteberry was ordered to pay a $100.00 SMA, a $25,000 fine and $9,118.44 for
cost of supervision. Mr. Atteberry has paid the SMA and fine in full, as well as, $912.58 in interest.
Mr. Atteberry paid $9,418.44 toward cost of supervision resulting in an overpayment of $300.00.
Requesting authorization to refund the $300.00 overpayment.

WILLIAM M. McCOOL, Clerk of Court

Prepared by: ___s/Philip Detweiler___________
             Philip Detweiler, Financial Specialist              Date: January 27, 2006

Referred by:                                  ,Deputy Clerk

                                            ORDER OF COURT

It is ORDERED this 21st            day of        February                    , 2006, that the Clerk
refund the identified funds to the payee.


                                                                   s/Maurice M. Paul

                                                                MAURICE M. PAUL
                                                       SENIOR UNITED STATES DISTRICT JUDGE


Adopted: 12/03/99
